                                                   DEMURRAGE INVOICE

PLEASE REMIT TO:                                                                            INVOICE NO:       1959436
Ingram Barge Company                                                                        INVOICE DATE:     07/09/2019
P.O. BOX 198934                                                                             CUSTOMER NO:      00021150
ATLANTA, GA 30384-8934                                                                      PAYMENT TERMS:    Net 30 Days
                                                                                            DUE DATE:         08/08/2019




Michigan Salt Products, LLC
Attn: Andy Lindamood
1120 S Lapeer Rd
Suite 200
Oxford, MI 48371



JOB NO.                    OUR CONTRACT                   YOUR REPRESENTATIVE               OUR REPRESENTATIVE
133042                     109339                         Andy Lindamood                    Steve Alley

CARGO:          Salt

ORIGIN:         LMR 136             TRIANGLE ANCHORAGE

DESTINATION:    IR        299.9     OZINGA/LEMONT


          TYPE OF                         LOAD     PURCHASE
 LINE     SERVICE          BARGE          DATE     ORDER NO.               QUANTITY    UOM          RATE          NET AMOUNT
   1 Demurrage     IN155410             06/06/19                                5.00   BD         $300.000         $1,500.00
          Vessel: SBI ORION
   2 Demurrage     IN155410             06/06/19                                1.00   BD         $400.000           $400.00
          Vessel: SBI ORION

                                                                                                               ============
                                  Invoice Total:                                                                  $1,900.00



                                  TO BILL DEMURRAGE CHARGES PER THE ATTACHED WORKSHEET




                                                                                                            EXHIBIT
                                                                                                                   5
Correspondence Address:                                                                         Telephone: 615/298-8200
4400 Harding Pike                                                                               Facsimile: 615/298-8349
                  Case
Nashville, TN 37205       3:21-cv-00674 Document 1-5Page
                                                      Filed   08/30/21
                                                         1 (Final Page) Page 1 of 2          PageID
                                                                                                Biller: #: 37
                                                                                                            Charles Daniel Beard
                     Loading & Discharge - Demurrage Candidate Report
                     Grouped By: Contract, Job
                     Filtered By: 07/09/2019
                     Sorted By: Placed to Load Date, Barge

Michigan Salt Products, LLC                                                                                                                   REF INVOICE# : 1959436
                          FREE ALL:   6                                                EXCLUDE:
Contract Information      ORIGIN: LMR 136 T TRIANGLE ANCHORAGE                                                                                 CONTRACT#: 109339
                          DESTINATION: IR 299.9 T OZINGA/LEMONT                                                                                    JOB#: 133042
  Barge             C/P      Load       Days      C/P      Unload      Days    Total   Free   Sun Hol Billable                    Rate                    Total
                            Release     Used               Release     Used    Days    Days            Days                                              Amount
IN155410     06/05 0700    06/06 0700   1.00   06/27 0929 07/08 1200   11.00   12.00    6        0      6.00     300/5, 400/5,    $1,900.00
                                                                                                                     550



                                                                                                                                 Total Demurrage Due:     $1,900.00


                                                                                                                                          Total $ Due:    $1,900.00




           beardd                                                                      Page 1   of 1                                              Tuesday, July 9, 2019 02:41 PM


                                        Case 3:21-cv-00674 Document 1-5 Filed 08/30/21 Page 2 of 2 PageID #: 38
